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5

6                             IN THE UNITED STATES DISTRICT COURT

7                           FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9
                                                       Case Number: 2:19-CR-104 TLN
10   UNITED STATES OF AMERICA,
                                                       DEFENDANT GREGORIO ROJAS'
11                          Plaintiff,                 WAIVER OF PERSONAL APPEARANCE;
                                                       ORDER
12        v.

13   GREGORIO ROJAS,
14                           Defendant.
15

16

17             Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, GREGORIO
18   ROJAS, hereby waives the right to be present in person in open court upon the hearing of any
19   motion or other proceeding in this case, including, but not limited to, when the case is set for
20
     trial, when a continuance is ordered, and when any other action is taken by the court before or
21
     after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
22
     Defendant hereby requests the Court to proceed during every absence of his which the Court
23
     may permit pursuant to this waiver; agrees that his interests will be deemed represented at all
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     times by the presence of his attorney, the same as if the defendant were personally present; and
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1    further agrees to be present in court ready for trial any day and hour the Court may fix in his

2    absence.

3           The defendant further acknowledges that he has been informed of his rights under Title
4    18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
5    dates under that Act without his personal presence.
6    Dated: April 7, 2020
7
                                                                /s/ Gregorio Rojas
                                                                 Gregorio Rojas
8                                                          (Original retained by attorney)

9

10          I have consulted with my client and obtained his agreement for this waiver. I agree and

11   consent to my client’s waiver of appearance.

12

13   Dated: April 7, 2020                                  /s/ Olaf W. Hedberg
                                                           Olaf W. Hedberg
14                                                         Attorney for Gregorio Rojas
15

16

17          IT IS SO ORDERED.

18

19   Dated: April 8, 2020
                                                           Troy L. Nunley
20                                                         United States District Judge

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